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7 UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON
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In re: Case No.: 20-11939
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. EMILIE VILLA-IGNACIO PADIERNOS, DECL TION REGARDING TAX
Debtor. RETURNS
II
12
13 :
COMES NOW. the Debtor, DEBTOR, and makes this Declaration, under penalty of perjury:
14
- & I am the Debtor in the matter referenced above.
16 2. I believe I am exempt from filing my tax returns and have not done so since 2013..
17 || Dated this3rd day of August 2020.
(NY.
18 EMILTE PADIERNOS (Aug 3, 2020 10:53 PDT)
Emilie Villa Ignacio Padiernos
19 Debtor
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DECLARATION- 1 Washington Law Group PLLC
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Seattle, WA 98133

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